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SEE ATTACHMENT HERETO
                Plaintiff, ROCKMOND DUNBAR




ROCKMOND DUNBAR
                                                            2:22-cv-1075


THE WALT DISNEY COMPANY; TWENTIETH CENTURY
FOX TELEVISION, A UNIT OF TWENTIETH CENTUREY
FOX FILM CORPORATION DOING BUSINESS AS 20TH
TELEVISION,




                                                        Rockmond Dunbar




                         Rockmond Dunbar                           Plaintiff




        February 16, 2022                    /s/ Caroline Tucker




                                             Plaintiff, Rockmond Dunbar
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ATTACHMENT TO CERTIFICATION AND NOTICE OF INTERESTED
PARTIES (Local Rule 7.1-1)

Name, Address, and Telephone Numbers of Attorney(s)
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